 Case
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 1   CHARLES E. KELLY, ESQ.
     Nevada Bar No. 4652
 2   706 South Eighth Street
 3   Las Vegas, Nevada 89101
     (702) 385-0777
 4   Attorney for Defendant
 5
 6
                                  UNITED STATES DISTRICT COURT
 7                                     DISTRICT OF NEVADA
 8
 9
     UNITED STATES OF AMERICA,                 ) 2:11 CR 00062 JCM LRL
10                                             )
              Plaintiff,                       )
11
                                               )
12   vs.                                       ) STIPULATION TO CONTINUE
                                               ) SENTENCING DATE
13                                             ) (First Request)
     PAMELA BLACK,                             )
14
                                               )
15             Defendant.                      )

16          COMES NOW, Defendant, by and through her counsel, Charles E. Kelly and the United
17   States, by and through Assistant United States Attorney, Sarah Griswold, and hereby requests
18   that this Court approve this Stipulation to Continue the Defendant’s Sentencing date from
19   September 9, 2011 to at a convenient date for the Court in February 2012.
20          The Government does not oppose this Request. The Request is not made for the
21   purposes of delay, and is in the interests of justice. Ms. Black is a critical witness for the
22   Government in a case that is scheduled to go to trial towards the end of this year. Both parties
23   wish to continue this matter in order to afford Ms. Black the opportunity to testify before being
24   sentenced.
25          WHEREFORE, Defendant and the United States requests that this Sentencing be
26   postponed from September 9, 2011 to a date convenient for the Court in February 2012.
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28                                                  Respectfully Submitted,

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 1                                   /s/______________________
                                     Charles E. Kelly
 2                                   Bar No. 4652
 3                                   706 S. Eighth Street
                                     Las Vegas, NV 89101
 4                                   (702) 385-0777
 5                                   /s/_______________________
 6                                   Sarah Griswold
                                     Assistant United States Attorney
 7
 8
 9                             “THE ABOVE-MENTIONED REQUEST FOR A
10                             SENTENCING CONTINUANCE IS HEREBY

11                             GRANTED, ORDERED, AND ADJUDGED”

12
                                     ____________________________
13                                   James C. Mahan
14                                   UNITED STATES DISTRICT JUDGE

15                                          September 7, 2011
                                     DATED:______________________
16
                                                       2/06/2012
                                     SENTENCING DATE:____________
17
                                                      10:00 a.m.
                                     SENTENCING TIME:____________
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